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                IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF DELAWARE

OMEGA PATENTS, LLC,                  )
                                     )
           Plaintiff,                )
                                     )
     v.                              ) C.A. No. 22-1044-CFC
                                     )
GEOTAB USA, INC. and GEOTAB,         )
INC.,                                )
                                     )
           Defendants.               )



         DEFENDANT GEOTAB, INC.’S OPENING BRIEF IN
     SUPPORT OF ITS MOTION TO DISMISS FOR INSUFFICIENT
     SERVICE OF PROCESS AND FAILURE TO STATE A CLAIM

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I.    NATURE AND STAGE OF THE PROCEEDINGS
      On August 9, 2022, Plaintiff Omega Patents, LLC (“Omega”) sued

Defendants Geotab USA, Inc. (“Geotab USA”) and Geotab, Inc. (“Geotab, Inc.,

which will also be referred to herein at times as “Geotab Canada”) (collectively,

“Geotab”). 1 D.I. 1. The Complaint alleges that each of the Defendants directly

infringes and induces infringement of U.S. Patent No. 8,032,278 (“the ’278

Patent”). Id. This motion seeks dismissal of all claims against Geotab, Inc. for (1)

failure of service of process, and (2) failure to state a claim.

      First, under Rule 12(b)(5), Geotab, Inc.—a Canadian corporation

headquartered in Ontario—moves to dismiss the complaint for insufficient service

of process. As explained below, Omega’s purported service is deficient because it

never actually served any papers on Geotab Canada at all – at best, service was

attempted on a person who is not a Geotab Canada agent for service of process, nor

indeed even a Geotab Canada employee.

      Second, under Rule 12(b)(6), Geotab USA previously moved to dismiss the

infringement claims against it for failure to state a claim (D.I. 9). If and to the

extent Geotab Canada were deemed to be properly before the Court (which it is

not), Omega additionally fails to allege facts sufficient to state a claim for divided


1
  Geotab USA’s briefing on its motion to dismiss used the term “Geotab” to refer
to solely Geotab USA. D.I. 10 at 2 n.2. This and future briefing will refer to each
party individually and “Geotab” for both parties collectively. See id.

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infringement against Geotab Canada for the same reasons as have already been

briefed (in D.I. 10) with regard to Geotab USA. Geotab Canada thus also moves to

dismiss the infringement claims on the same grounds, as outlined below. 2

II.   SUMMARY OF ARGUMENT

      1.     Service on a foreign corporation such as Geotab Canada requires

compliance with the Hague Convention on the Service Abroad of Judicial and

Extrajudicial Documents (the “Hague Convention”) (Exhibits A-B). The Hague

Convention allows for service by a process server in Canada, under Ontario’s rules

of civil procedure. But service there is valid only if it is made on an officer,

director, agent, or someone in control or management of the place of business.

Rules of Civil Procedure, R.R.O. 1990, c. C. 43, Rule 16.02(1)(C) (Ont.) (Exhibit

C). Because Omega served a temporary receptionist who has no such control or

management responsibilities, and indeed is not even a Geotab employee, service

was insufficient, and the Court should dismiss.

      2.     Under controlling law for divided patent infringement of device

claims (also called joint infringement), a single party must “put the invention into



2
  Because Omega asserts the same infringement allegations against both Geotab
USA and Geotab, Inc., the divided infringement claims are identical for both
defendants. D.I. 1 at ¶¶ 12-29. Therefore, the divided infringement facts and
arguments Geotab, Inc. sets forth in this brief (primarily Statement of Facts
Sections III.B, III.C and Argument Section V.B below) are substantively identical
to Geotab USA’s prior briefing (D.I. 10 at 1 n.1).

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service,” or have control of and obtain the benefit from the system. Centillion

Data Sys., LLC v. Qwest Commc’ns Int’l, Inc., 631 F.3d 1279, 1284 (Fed. Cir.

2011). Here, the relevant asserted claims all have limitations requiring actions by

two distinct entities: (1) the manufacturer and seller of a certain type of vehicle

tracking device, and (2) the customers of that entity when they use the device in

combination with their vehicles. Omega alleges that Geotab is the manufacturer

and seller of accused devices. But Omega’s Complaint makes no allegations

against Geotab’s customers or their vehicles, let alone specific and plausible ones.

D.I. 1 at 3-10. The Court should therefore dismiss the direct infringement

allegations for failure to state a claim.

       3.    Indirect infringement allegations—such as inducement—also fail

without an underlying showing of direct infringement. Limelight Networks, Inc. v.

Akamai Techs., Inc., 572 U.S. 915, 920-21 (2014). The Court should thus dismiss

those claims as well. Doing so results in a dismissal of the entire case.

III.   STATEMENT OF FACTS

       A.    Attempted Service on Geotab, Inc.
       Geotab, Inc. is a Canadian corporation headquartered in Oakville, Ontario.

Ms. Uju Orebajo works for an employment agency named Randstad Staffing.

Declaration of Uju Orebajo, filed herewith (“Orejabo Dec.”) at ¶ 3. That company

assigned her to provide temporary receptionist services at Geotab Canada for a



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period of a few months. Id. Part of her duties are as a front-desk receptionist in

Geotab Canada’s Oakville office. Id. at ¶ 4. Ms. Orebajo meets the description of

the person served in the affidavit of service. D.I. 12; Orebajo Dec. at ¶ 5.

      On October 28, 2022, a process server handed Ms. Orebajo a plain yellow

envelope with “Geotab, Inc.” written on the front, which contained a copy of the

summons and complaint. Orebajo Dec. at ¶ 6. The process server did not identify

herself by name or provide a business card. Id. The process server did not ask

about Ms. Orebajo’s job, or for any other individuals in charge. Id. Ms. Orebajo is

not an officer, director, or agent of Geotab Canada, nor does she have any control

or management related responsibilities. Id. at ¶ 7. Neither does she hold herself

out to be any of these things, nor is there anything in the reception area to suggest

that Ms. Orebajo is anything except a temporary receptionist working at the front

desk of Geotab Canada’s Oakville office. Id.

      B.     Asserted Patent Claims 3
      Omega alleges that Geotab infringes claim 12 of the ’278 Patent, which

depends from independent claim 1. D.I. 1 at ¶ 14, pp. 3-10. A dependent claim

“incorporate[s] by reference all the limitations of the claim to which it refers.” 35




3
 Per note 2, subsections III.B and III.C are substantively identical to the
corresponding sections of D.I. 10.

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U.S.C. § 112, ¶ 4. 4 Geotab will thus address each of claim 1 and claim 12 in turn.

      Claim 1 recites 5:

      1. A multi-vehicle compatible tracking unit for a vehicle comprising a
      vehicle data bus extending throughout the vehicle, the multi-vehicle
      compatible tracking unit comprising:
             a vehicle position determining device;
             a wireless communications device;
      a multi-vehicle compatible controller for cooperating with said vehicle
      position determining device and said wireless communications device to
      send vehicle position information;
      said multi-vehicle compatible controller to be coupled to the vehicle data
      bus for communication thereover with at least one vehicle device using at
      least one corresponding vehicle device code from among a plurality thereof
      for different vehicles; and
      a downloading interface for permitting downloading of enabling data related
      to the at least one corresponding vehicle device code for use by said multi-
      vehicle compatible controller.

      Several of these limitations relate not only to the tracking unit and its

components, but also to the components of the vehicle, such as the “vehicle data

bus extending throughout the vehicle,” the “vehicle device,” and the “vehicle

device code.” Prior court decisions relating to this same patent confirm this point.


4
  The America Invents Act (“AIA”) made certain changes to Section 112 of the
Patent Act, effective September 16, 2012. Leahy-Smith America Invents Act, Pub.
L. No. 112-29, 125 Stat. 284, 297 (2011). Pre-AIA law applies here because the
’278 Patent was filed on July 3, 2007, prior to that date. ’278 Patent at (22). Apart
from the addition of subsection headings to Section 112, the relevant text is
identical in both versions of the statute.
5
 Throughout this brief, emphasis is added and quotations and citations are omitted
except where otherwise noted.

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The Federal Circuit has already had occasion to construe the term “vehicle device,”

as used in the ’278 Patent, to mean an “electrical or electronic component in a

vehicle that can be controlled and/or the status thereof read”—excluding insertable

telematics devices. Omega Pats., LLC v. CalAmp Corp., 13 F.4th 1361, 1371

(Fed. Cir. 2021); see also Omega Pats., LLC v. CalAmp Corp., 920 F.3d 1337,

1346-49 (Fed. Cir. 2019). At least one district court construed “device code” to

mean a “signal from a vehicle device,” and Omega agreed on that construction for

the ’278 Patent. Omega Pats., 13 F.4th at 1371.

      Dependent claim 12 adds to claim 1 the requirement of “a housing

containing” various components of the tracking unit. ’278 Patent, claim 12.

      While Geotab reserves the right to address any other claims Omega may

assert, the divided infringement analysis would be the same, given the identical

claim terms appearing in all independent claims. See ’278 Patent, independent

claim 13 (including identical “vehicle data bus,” “vehicle device,” and “vehicle

device code” limitations); independent claim 18 (same).

      C.    Accused Products and Alleged Acts of Infringement
      Omega’s Complaint alleges that Geotab’s GO9/GO9+ generation device

infringes the ’278 Patent’s claim 12. D.I. 1 at ¶ 14. The GO device is a compact

telematics device that plugs directly into a vehicle’s on-board diagnostics (“OBD”)

second-generation (“OBD-II”) port.



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      As discussed above, claim 12 necessarily incorporates all of unasserted

claim 1’s limitations, and the Complaint purports to chart both claims. D.I. 1 at 3-

10. But the charts specifically refer only to the functionalities of the GO device;

indeed, all the various screenshots and descriptions refer only to the GO device’s

features. Id. There is no mention in the Complaint or any of the accompanying

claim charts of the vehicles the GO device would connect to, nor to who makes the

connection, nor who controls those vehicles. Id. The Complaint is thus devoid of

any allegations as to the second of the two entities whose conduct would be

needed—jointly with the first—in order to meet each of the limitations of the

claims, even taking all of Omega’s allegations as true.

      Omega’s Complaint further alleges that Geotab induces infringement by

Geotab’s customers, but as noted above an inducement claim requires direct

infringement, and the Complaint is devoid of any allegations of any specific facts

relating to the claim limitations sufficient to set forth a direct infringement claim.

D.I. 1 at ¶¶ 15, 21-29.

IV.   LEGAL STANDARDS
      A.     Service of Process

             1.     Motion to Dismiss for Insufficient Service of Process

      A defendant may obtain dismissal under Rule 12(b)(5) where it “has not

properly been served with process.” Alsco, Inc. v. Premier Outsourcing Plus, LLC,

C.A. No. 19-1631-CFC, 2020 WL 4001060, at *1 (D. Del. July 15, 2020), adopted,

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2020 WL 4501920 (D. Del. Aug. 5, 2020) (Connolly, C.J.). On such a motion,

“the party asserting the validity of service bears the burden of proof.” Grand Ent.

Grp., Ltd. v. Star Media Sales, Inc., 988 F.2d 476, 488-93 (3d Cir. 1993) (finding

plaintiff “failed to serve the Spanish defendants in compliance with either federal,

Pennsylvania or Spanish law”).

             2.     Personal Service on a Canadian Corporation
      As a Canadian corporation, Omega must serve Geotab, Inc. under Rule

4(h)(2), which states that a foreign corporation can be served in any manner

prescribed by Rule 4(f). That rule says service can be accomplished “by any

internationally agreed means of service that is reasonably calculated to give notice,

such as those authorized by the Hague Convention.” Fed. R. Civ. P. 4(f)(1).

      Article 10(b) of the Hague Convention clarifies that it will not interfere with

the ability to “effect service of judicial documents directly through the judicial

officers, officials or other competent persons of the State of destination.” Hague

Convention on the Service Abroad of Judicial and Extrajudicial Documents, art.

10(b), concluded Nov. 15, 1965, 15 U.S.T. 2230, 220 U.N.T.S. 127 (Ex. A).

Unless a country explicitly objects, Article 10(b) allows for personal service

through the means allowed by each country. Id. Canada does not oppose this

article, thus allowing for service by process servers in Canada in accordance with

each Canadian province’s laws. Canada – Central Authority & practical



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information, Hague Conference on Private and International Law (May 12, 2022),

https://www.hcch.net/en/states/authorities/details3/?aid=248 (Ex. B).

      Other courts in the Third Circuit have found it appropriate to look to the

service rules of the relevant country to “determine whether that [country] would

object to the particular method of service utilized under Article 10.” Dimensional

Commc’ns, Inc. v. OZ Optics Ltd., 218 F. Supp. 2d 653, 656 (D.N.J. 2002). Here,

the relevant rule is Ontario Rule of Civil Procedure 16.02(1)(C), which states that

service “shall be made… on any other corporation, by leaving a copy of the

document with an officer, director or agent of the corporation, or with a person at

any place of business of the corporation who appears to be in control or

management of the place of business.” Rules of Civil Procedure, R.R.O. 1990, c.

C. 43, Rule 16.02(1)(C) (Ont.) (Ex. C).

      B.     Failure to State a Claim for Patent Infringement 6
             1.     Motion to Dismiss For Failure to State a Claim
      To survive a motion to dismiss, a complaint must set forth enough facts to

state a plausible claim, such that the defendant has fair notice of the claim and its

grounds. Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007); ABB Turbo Sys. AG v.

Turbousa, Inc., 774 F.3d 979, 984 (Fed. Cir. 2014). While the pled facts are




6
 Per note 2, subsection IV.B is substantively identical to the corresponding
sections of D.I. 10.

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assumed true and read in the plaintiff’s favor, the allegations must not be

conclusory or mere recitals of claim elements. Ashcroft v. Iqbal, 556 U.S. 662,

678-79 (2009); Twombly, 550 U.S. at 555; Anderson v. Kimberly-Clark Corp., 570

F. App’x 927, 931-32 (Fed. Cir. 2014). Instead, allegations are sufficient only if

(unlike here) the court could draw a reasonable inference that the defendant is

liable for the alleged misconduct. Iqbal, 556 U.S. at 678; Anderson, 570 F. App’x

at 931.

             2.     Divided Direct Infringement
      To be liable for direct patent infringement under 35 U.S.C. § 271(a), all the

claim limitations must be “performed by or attributable to a single entity.” Akamai

Techs., Inc. v. Limelight Networks, Inc., 797 F.3d 1020, 1022 (Fed. Cir. 2015) (en

banc). This is true for device or system claims, as asserted here: In order to “use”

a system or device, a single party “must put the invention into service, i.e., control

the system as a whole and obtain benefit from it.” Centillion, 631 F.3d at 1284.

Where a complaint fails to plausibly allege that a single entity practices the

invention, courts dismiss. See, e.g., Portus Singapore Pte Ltd v. SimpliSafe, Inc.,

C.A. No. 19-480, 2019 WL 6071180, at *5 (D. Del. Nov. 15, 2019) (dismissing for

failure properly to allege divided infringement claim “since the Amended

Complaint lacks any facts suggesting that Defendant uses… [the accused] device

in connection with of the rest of the claimed elements.”).



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             3.     Induced Infringement
      To prove inducement, a type of indirect infringement, a plaintiff must first

show an underlying act of direct infringement. As the Supreme Court has

unmistakably established, “our case law leaves no doubt that inducement liability

may arise if, but only if, there is direct infringement.” Limelight, 572 U.S. at 920-

21. Where a complaint fails to make out a plausible case for direct infringement,

the indirect infringement allegations likewise fail. See, e.g., SuperInterconnect

Techs. LLC v. HP Inc., C.A. No. 19-0169-CFC, 2019 WL 6895877, at *3 (D. Del.

Dec. 18, 2019) (Connolly, C.J.) (dismissing induced infringement claims for

failure to plausibly allege direct infringement).

V.    ARGUMENT
      A.     Omega Failed To Properly Serve Geotab, Inc.
             1.     Omega’s Attempted Service on Geotab, Inc.’s
                    Temporary Receptionist Was Invalid Under Ontario Law.

      While this District has not yet addressed proper service under Ontario law,

others have. They have consistently held that attempting service on receptionists,

secretaries, temps, or others in similar positions is insufficient under Ontario law.

See, e.g., Hudson Priv. LP v. Creative Wealth Media Fin. Corp., C.A. No. 22-

5520, 2022 WL 4365573, at *6 (S.D.N.Y. Sept. 21, 2022) (“U.S. court precedents

applying the Ontario service statute have similarly concluded that office assistants,

secretaries, and receptionists were not individuals appearing to be in control or



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management of a corporation.”) (collecting cases); Arbor Plastic Techs., LLC v.

Spartech, LLC, C.A. No. 21-11194, 2022 WL 3223986, at *4-6 (E.D. Mich. July

25, 2022) (service on “Production Planner” was invalid, and citing Ontario case

law stating that “the Canadian rules do not allow for service on any employee, in

any scenario, simply because the process server subjectively believes that

employee to be in control… The Canadian court will not accept service on just

any old employee.”) (collecting Canadian cases); Granger v. Nesbitt, C.A. No. 21-

11066, 2021 WL 4658658, at *5 (D. Mass. Oct. 7, 2021) (where process server

knew person served was receptionist, “based on the Ontario Rules, the Court

concludes that service was invalid here.”) Jerge v. Potter, C.A. No. 99-0312E(F),

2000 WL 1160459, at *1 (W.D.N.Y. Aug. 11, 2000) (serving receptionist was

insufficient because plaintiff did not allege she met the requirements of Rule

16.02(1)(C) and “the present record indicates that the demands of service under

Ontario law have simply not been met.”).

      Indeed, Geotab is aware of no authority in the United States or Ontario

finding that attempted service on a receptionist satisfies Ontario Rule of Civil

Procedure 16.02(1)(C), and Omega did not point to any in its affidavit of service.

D.I. 12.

      The language of the rule is specific and must be strictly met. For example,

service is invalid under Rule 16.02(1)(C) even where an owner of a defendant


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corporation is served, because the owner does not fall under the specific categories

listed in the rule. See Bodyup Fitness, LLC v. 2080039 Ontario, Inc., C.A. No. 07-

22223, 2008 WL 516996, at *2-4 (S.D. Fla. Feb. 23, 2008).

      Here, the process server presented the documents in an envelope to Ms.

Orebajo, a temporary receptionist at Geotab Canada who is not even employed by

that company. Orebajo Dec. at ¶¶ 3, 4, 6. Ms. Orebajo is not an officer, director,

or agent of Geotab Canada, nor does she appear to have (let alone actually have)

any control or management of the business. Id. at ¶ 7. The process server made no

attempt to inquire into the nature of Ms. Orebajo’s job, such that she could have

determined that any of the listed categories applied to Ms. Orebajo. Id. at ¶ 6.

Because service on a receptionist (or those in similar positions) does not meet the

requirements for service under Ontario law—per Ontario case law as well as

multiple district courts across the United States—Omega did not properly effect

service on Geotab Canada. The Court should thus dismiss Omega’s complaint

under Rule 12(b)(5).

             2.    The Third Circuit Would Rule Similarly on Ontario
                   Law, Based on Precedent Addressing Analogous Rules.

      While no courts in the Third Circuit have expressly addressed Ontario Rule

of Civil Procedure 16.02(1)(C), they have addressed similar requirements for

serving a corporation under United States Federal Rule of Civil Procedure

4(h)(1)(B). A domestic corporation can be served by “by delivering a copy of the


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summons and of the complaint to an officer, a managing or general agent, or any

other agent authorized by appointment or by law to receive service of process.”

Fed. R. Civ. P. 4(h)(1)(B).

      The Third Circuit, as well as courts in this District, have found service on a

receptionist is insufficient. In Gabros v. Shore Med. Ctr., 724 F. App’x 119, 122

(3d Cir. 2018), the process server attempted service multiple times on an

administrative assistant and risk manager. The Third Circuit found that there was

no evidence that either of the individuals served was an agent or “in charge” of the

defendant’s place of business. Id. The Third Circuit accordingly upheld the

dismissal of the plaintiff’s claims. Id. Similarly, in Snyder v. Swanson, C.A. No.

08-880, 2009 WL 10695345, at *2 (D. Del. June 11, 2009), the process server

served a secretary at the office of an attorney who had represented defendant in

prior lawsuits, and the court found that plaintiff had not properly effected service

under Rule 4.

      In short, both Third Circuit and Ontario law are clear that service on

receptionists is insufficient. This outcome is consistent with other courts around

the country. See Section V.A.1 above; see also Narbut v. Manulife Fin. Corp.,

C.A. No. 17-10639, 2020 WL 3577939, at *5 (D. Mass. July 1, 2020)

(“Defendant’s argument that its senior legal assistant was not the appropriate

individual to serve finds support in both the Ontario Rules of Civil Procedure and


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case law interpreting a similarly worded provision in the Federal Rules [referring

to Rule 4(h)(1)(B)]”). The complaint against Geotab, Inc. should therefore be

dismissed.

      B.     Omega Fails To State a Plausible Claim for Patent Infringement. 7
             1.     The Asserted Claims Require Not Just a Controller, But
                    Also a Vehicle, and the Complaint Fails To Allege That
                    Any Single Entity Performs All the Limitations of a Claim.

      The asserted claims require that the device or system work not in isolation,

but via interaction with a vehicle.

      One example is the “vehicle data bus,” which appears in several portions of

claim 1, e.g., “[a] multi-vehicle compatible tracking unit for a vehicle comprising a

vehicle data bus extending throughout the vehicle,” and later in the “controller to

be coupled to the vehicle data bus for communication thereover” mentioned

earlier in the claim. ’278 Patent, Claim 1. The “vehicle data bus” limitations are

part of the vehicle itself – not of the multi-vehicle compatible controller coupled to

the vehicle. ’278 Patent, Abstract, 2:53, 3:31-32 (“vehicle data bus extending

throughout the vehicle”).

      Similarly, the “coupled” limitation requires that an entity couple the

controller to the vehicle. Omega’s Complaint does not clarify which entity, if any,




7
  Per note 2, this divided infringement argument (i.e., Part V.B) is substantively
identical to Geotab USA’s prior briefing. D.I. 9-10.

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it contends performs this coupling, instead merely alleging in the abstract that the

coupling occurs. D.I. 1 at 6-9. The Complaint conspicuously fails to allege that

Geotab itself performs the supposed coupling. Indeed, when customers receive a

Geotab GO device and choose to install it into their vehicles, that is an act of the

customer, not of Geotab. Even taking all the Complaint’s allegations as true, 8 it

fails to allege that Geotab (as opposed to Geotab’s customers) connects the

accused GO device to the customers’ vehicles via the OBD-II port. Nor does the

Complaint ever allege that Geotab’s customers meet the “vehicle data bus”

coupling limitation. In short, the Complaint is devoid of any allegation that any

single person or entity meets this limitation.

      Another example is the limitation “at least one vehicle device using at least

one corresponding vehicle device code.” ’278 Patent, claim 1; see also id. (“a

downloading interface for permitting downloading of enabling data related to the at

least one corresponding vehicle device code”). In a prior litigation involving the

’278 Patent, the Federal Circuit interpreted “vehicle device” as an “electrical or

electronic component in a vehicle that can be controlled and/or the status thereof

read,” thereby excluding insertable telematics devices like the GO device. Omega



8
 Geotab does not concede the accuracy of any of Omega’s allegations, but simply
assumes, as it must on a Rule 12 motion, that the factual allegations in the
Complaint are true solely for purposes of this motion to dismiss. Iqbal, 556 U.S. at
678-79.

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Pats.,13 F.4th at 1371. Omega also agreed that a “device code” is met by a “signal

from a vehicle device.” Id., see also Omega Pats., 920 F.3d at 1346-49. The

limitation did not refer to those defendants’ location messaging units, which

connected to a vehicle for tracking. Omega Pats., 13 F.4th at 1371-72. Thus the

“vehicle device code” cannot come from the GO device; at most, it could come

from a vehicle device that is part of the car. Omega’s Complaint simply alleges

that the GO device “communicates” with a “vehicle device” using “at least one

corresponding vehicle device code.” D.I. 1 at 8-9. Notably, it makes no

allegations as to who provides the vehicle required by the claims, much less the

specific and plausible allegations required by Iqbal and Twombly.

      Even if everything the Complaint alleges were true, the claims require more

than just the accused GO device. They also require an entity combining that

device with the vehicles. The Complaint does not allege Geotab does that. If

Omega’s position is that Geotab’s customers do, no such allegation appears in the

Complaint. Indeed, the Complaint makes no direct infringement allegations

regarding any customer actions. D.I. 1 at 3-10.

            2.     Omega’s Complaint Does Not Allege
                   Control By Geotab Over Customers Practicing
                   the Missing Limitations of the Asserted Claims.

      Omega does not allege that Geotab controls its customers or their vehicles.

Nor has Omega alleged—let alone plausibly alleged—that Geotab’s customers or



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their vehicles infringe the claims, because the claim charts make no allegations

relating to the customers’ actions. D.I. 1 at 3-10. The Complaint thus fails to

allege that Geotab “control[s] the system as a whole and obtain[s] benefit from it,”

and it should thus be dismissed. Centillion, 631 F.3d at 1284.

      Two other cases in this District recently considered analogous situations, and

both dismissed the direct infringement claims. In Portus v. SimpliSafe, 2019 WL

6071180, at *1, plaintiff Portus alleged that defendant SimpliSafe’s home security

systems infringed system claims that called for (1) a remote access device; (2) a

connection gateway in the user’s premises; and (3) a server outside the user’s

premises that could connect on demand with the connection gateways. The home

security systems included a base station in the user’s premises, which could

connect to a server, and a user not on the premises could obtain information about

the premises via a webpage from the remote access device. Id. at *3. SimpliSafe

argued that the complaint did not plausibly allege that SimpliSafe used the claimed

systems—rather, the end user allegedly did so by providing the remote access

device. Id. at *4. The Court agreed, finding that “there are no facts alleged

supporting the contention that SimpliSafe itself uses the claimed remote access

device in connection with operation of the claimed systems…. Since SimpliSafe

does not use or put such a device into service, it does not ‘use’ the claimed systems

within the meaning of 35 U.S.C. § 271(a).” Id. at *5. The Court thus dismissed


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the direct infringement claims. Id.

      Similarly, in Acceleration Bay LLC v. Take-Two Interactive Software, Inc.,

C.A. No. 16-455-RGA, 2020 WL 1333131, at *4 (D. Del. Mar. 23, 2020), the

claims required a “computer network” and/or “broadcast channels,” and would not

be infringed if customers performed the final step to assemble the system. On

summary judgment, the Court found that while Take-Two made the video game,

only the customers could form the claimed systems when they played in online

multiplayer modes. Id. Accordingly, it found non-infringement. Id. at *7.

      The facts here are materially the same as those in Portus and Acceleration

Bay. The claims here require not just a multi-vehicle compatible controller

(alleged to be Geotab’s GO device), but that some specific person or entity take

actions to combine such controller with a vehicle with which it interacts. The

Complaint does not accuse Geotab of doing so. D.I. 1 at 3-10. And if Omega’s

theory is that Geotab’s customers do so, the Complaint is devoid of any specific,

factual allegations that any such customer either provides the vehicle or

accomplishes the accused GO device’s alleged connection with the vehicle. In

short, Omega has not alleged that any one party puts the invention into service, as

black-letter law requires. Centillion, 631 F.3d at 1284. This Court should dismiss

Omega’s direct infringement count (Count I) for failure to state a divided

infringement claim.


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             3.    Omega’s Induced Infringement Claims Fail for
                   Lack of the Required Claim of Direct Infringement.

      Omega also alleges that Geotab indirectly infringes the ’278 Patent via

inducement, by supposedly encouraging its customers to install and use the

accused systems. D.I. 1 at ¶¶ 15, 21-29 (Count II). But absent adequate

allegations of direct infringement, an indirect infringement claim cannot stand.

Limelight, 572 U.S. at 920-21. And as discussed above, Omega alleges no actual

facts about the customers’ actions. Omega may contend that it is sufficient to

make the broad conclusory statement that Geotab’s customers “directly infringe”

by “installing and using the systems identified,” (D.I. 1 at ¶¶ 23-27), but such

conclusory allegations, without more, cannot survive a motion to dismiss. See,

e.g., Simio, LLC v. FlexSim Software Prods., Inc., 983 F.3d 1353, 1365 (Fed Cir.

2020) (“We disregard conclusory statements when evaluating a complaint under

Rule 12(b)(6)” and affirming dismissal); Realtime Data LLC v. Array Networks

Inc., 556 F. Supp. 3d 424, 435 (D. Del. 2021) (Connolly, C.J.) (dismissing case—

where complaint contains “conclusory statements and legal argument… I am to

ignore such pleadings in a ruling on a motion to dismiss”).

      A plaintiff cannot bootstrap its inducement allegations onto an allegation of

direct infringement where the plaintiff has not made out a plausible case of direct

infringement. Limelight, 572 U.S. at 920-21 (liability for induced infringement

depends on showing direct infringement). This Court has accordingly dismissed


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claims of induced infringement where an underlying act of direct infringement was

not adequately alleged. See, e.g., SuperInterconnect, 2019 WL 6895877, at *3

(Connolly, C.J.) (dismissing both direct and induced infringement claims because,

where plaintiff had “not plausibly alleged that [defendant] directly infringes the

asserted patents, it cannot plausibly allege that [defendant] induced others to

infringe the patents”); see also Cytiva Sweden AB v. Bio-Rad Lab’ys, Inc., C.A.

No. 18-1899-CFC, 2022 WL 767513, at *1-3 (D. Del. Mar. 14, 2022) (Connolly,

C.J.) (where defendant was accused of indirect infringement, summary judgment

of noninfringement was proper because plaintiff had failed to show adequate

evidence of direct infringement).

      In short, as Omega has failed to state a claim for direct infringement, its

claims for induced infringement also fail. Those being the sole asserted claims, the

Court should dismiss the entire Complaint.

VI.   CONCLUSION
      For the above reasons, Geotab, Inc. respectfully requests that the Court

dismiss the Complaint.




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           CERTIFICATE COMPLIANCE WITH WORD COUNT

      I hereby confirm that this document complies with the type and number

limitations set forth in the Court’s November 6, 2019 Standing Order. I certify that

this document contains 4,977 words, which were counted using the word count

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